
62 So.3d 1158 (2011)
Enrique J. HERNANDEZ, Appellant,
v.
The STATE of Florida, Appellee.
No. 3D11-784.
District Court of Appeal of Florida, Third District.
June 1, 2011.
Enrique J. Hernandez, in proper person.
Pamela Jo Bondi, Attorney General, for appellee.
Before SUAREZ, LAGOA, and EMAS, JJ.
SUAREZ, J.
The trial court's order denying a Florida Rule of Criminal Procedure 3.800(c) motion to reduce or modify sentence is not an appealable order; neither, therefore, is the order denying the motion for rehearing of that order. Accordingly, we dismiss this appeal. Smith v. State, 902 So.2d 293 (Fla. 3d DCA 2005).
Dismissed.
